             Case
     Fill in this     21-50418-acs
                  information to identify yourDoc
                                              case:1      Filed 10/27/21            Entered 10/27/21 16:02:27                  Page 1 of 59
     United States Bankruptcy Court for the:

     ____________________
     Western               District of _________________
              District of Kentucky     (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                                 Chapter 7
                                                              
                                                              ✔
                                                              
                                                                  Chapter 11
                                                                  Chapter 12
                                                                                                                                         Check if this is an
                                                                 Chapter 13                                                                amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        Calvert  City Quarry, LLC
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               5229 Industrial Parkway                                  _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Calvert City                    KY   42029
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Marshall County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)               ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
            Case 21-50418-acs              Doc 1          Filed 10/27/21            Entered 10/27/21 16:02:27                    Page 2 of 59

                Calvert City Quarry, LLC
Debtor          _______________________________________________________                           Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                           ✔


                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                               212312
                                               _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                                aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                                affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
       A debtor who is a “small business                        recent balance sheet, statement of operations, cash-flow statement, and federal
       debtor” must check the first sub-                        income tax return or if any of these documents do not exist, follow the procedure in
                                                                11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                      
                                                            ✔
                                                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                         noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                          Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
       “small business debtor”) must                            statement of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                                any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.      District _______________________ When _______________ Case number _________________________
                                                                                           MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                 District _______________________ When _______________ Case number _________________________
                                                                                           MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an              Yes.      Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                       District _____________________________________________ When                __________________
      List all cases. If more than 1,                                                                                           MM / DD / YYYY
      attach a separate list.                        Case number, if known ________________________________

     Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 2
          Case 21-50418-acs                  Doc 1         Filed 10/27/21            Entered 10/27/21 16:02:27                     Page 3 of 59

              Calvert City Quarry, LLC
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                  Number        Street

                                                                                  ____________________________________________________________________

                                                                                  _______________________________________       _______     ________________
                                                                                  City                                          State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name       ____________________________________________________________________

                                                               Phone              ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                             ✔




                                             1-49                             1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99
                                             ✔
                                                                               5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million
                                                                              ✔
                                                                                                                         $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
          Case 21-50418-acs                 Doc 1          Filed 10/27/21              Entered 10/27/21 16:02:27                  Page 4 of 59

               Calvert City Quarry, LLC
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name



                                            $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                   $10,000,001-$50 million
                                                                                   ✔
                                                                                                                          $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                               petition.
      debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                               correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              10/27/2021
                                               Executed on _________________
                                                           MM / DD / YYYY


                                            /s/ James C Bailey
                                               _____________________________________________               James C Bailey
                                                                                                          _______________________________________________
                                               Signature of authorized representative of debtor           Printed name

                                                      Managing Member
                                               Title _________________________________________




18.   Signature of attorney
                                            /s/ Todd Farmer
                                               _____________________________________________              Date         10/27/2021
                                                                                                                       _________________
                                                Signature of attorney for debtor                                       MM   / DD / YYYY



                                                Todd Farmer
                                               _________________________________________________________________________________________________
                                               Printed name
                                                Farmer & Wright
                                               _________________________________________________________________________________________________
                                               Firm name
                                                4975 Alben Barkley Drive Suite 1
                                               _________________________________________________________________________________________________
                                               Number     Street
                                                Paducah
                                               ____________________________________________________             KY            42001
                                                                                                              ____________ ______________________________
                                               City                                                           State        ZIP Code

                                                2704434431
                                               ____________________________________                              todd@farmerwright.com
                                                                                                              __________________________________________
                                               Contact phone                                                  Email address



                                                86214                                                           KY
                                               ______________________________________________________ ____________
                                               Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 4
      Case 21-50418-acs          Doc 1     Filed 10/27/21    Entered 10/27/21 16:02:27         Page 5 of 59

                                          United States Bankruptcy Court
IN RE:                                                                Case No.__________________
Calvert City Quarry, LLC                                                        11
__________________________________________________________ Chapter __________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 James C. Bailey                                             100.00                  Managing member
 ,
             Case 21-50418-acs                                   Doc 1               Filed 10/27/21                         Entered 10/27/21 16:02:27                                              Page 6 of 59


 Fill in this information to identify the case:

                Calvert City Quarry, LLC
  Debtor name _________________________________________________________________

                                          Western District of Kentucky
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                                          amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                   12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                    0.00
                                                                                                                                                                                                     $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                        3,474,540.00
                                                                                                                                                                                                     $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                          3,474,540.00
                                                                                                                                                                                                     $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                         5,944,677.00
                                                                                                                                                                                                     $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                           534,576.33
                                                                                                                                                                                                     $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                            +$ __________________
                                                                                                                                                                                                         8,896,989.56



4. Total liabilities ...........................................................................................................................................................................        15,376,242.89
                                                                                                                                                                                                     $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                        page 1
             Case 21-50418-acs                Doc 1         Filed 10/27/21      Entered 10/27/21 16:02:27                         Page 7 of 59

      Fill in this information to identify the case:

                    Calvert City Quarry, LLC
      Debtor name __________________________________________________________________

                                              Western District of Kentucky
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                        Check if this is an
      Case number (If known):   _________________________                                                                                   amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                      12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number,      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code     and email address of         (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                             creditor contact             debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                          professional          unliquidated,   total claim amount and deduction for value of
                                                                          services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff
     Bailey Port, Inc.
1    1290 Shar Cal Road
     Calvert City, KY, 42029
                                                                                                                                                     6,016,947.00


     James C Bailey
2
                                                                                                                                                     1,361,535.00


     Small Business Adminstration
3
                                                                                                                                                     404,431.00


     Boyd CAT | Whayne Supply Company
4    Department 8326
     Carol Stream, IL, 60122-8326                                                                                                                    347,031.00


     Furukawa Finance                                                                           Unliquidated
5
                                                                                                                                                     185,542.00


     Internal Revenue Service                                           Taxes & Other
6                                                                       Government Units
                                                                                                                                                     164,727.00


     PowerPlan
7    PO Box 4450.
     Carol Stream, IL, 60197-4450                                                                                                                    103,728.00


     Internal Revenue Service                                           Taxes & Other
8                                                                       Government Units
                                                                                                                                                     102,000.00




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
             Case 21-50418-acs                Doc 1       Filed 10/27/21        Entered 10/27/21 16:02:27                          Page 8 of 59

                    Calvert City Quarry, LLC
    Debtor         _______________________________________________________                      Case number (if known)_____________________________________
                   Name




     Name of creditor and complete           Name, telephone number,      Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code     and email address of         (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                             creditor contact             debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                          professional           unliquidated,   total claim amount and deduction for value of
                                                                          services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                 Total claim, if    Deduction for       Unsecured
                                                                                                                 partially          value of            claim
                                                                                                                 secured            collateral or
                                                                                                                                    setoff
     Kentucky Revenue Cabinet                                           Taxes & Other
9                                                                       Government Units
                                                                                                                                                       96,452.00


     J.W. Jones Company, LLC
10 c/o Robert L. Prince
     P.O. Box 466                                                                                                                                      72,833.07
     Benton, KY, 42025-0466


     BB&T
11
                                                                                                                                                       47,201.00


     Marshall County, Kentucky                                          Taxes & Other
12 Marshall County Attorney                                             Government Units
     80 Judicial Drive, Unit 130                                                                                                                       44,100.00
     Benton, KY, 42025


     S&S Salvage LLC
13 501 Us Highway 41A North
     Providence, KY, 42450                                                                                                                             31,550.00


     Kentucky Division of Unemployment                                  Taxes & Other
14                                                                      Government Units
                                                                                                                                                       30,768.00


     Reliable Electric, LLC
15 1508 Iuka Rd
     Grand Rivers, KY, 42045
                                                                                                                                                       30,482.00


     Kentucky Department of Revenue                                     Taxes & Other
16                                                                      Government Units
                                                                                                                                                       29,619.00


     Marshall County                                                    Taxes & Other
17 Benton, KY, 42025                                                    Government Units
                                                                                                                                                       29,500.00


     Kentucky Department of Revenue                                     Taxes & Other
18 PO Box 5222                                                          Government Units
     Frankfort, KY, 40620-0004                                                                                                                         25,523.33


     Lease One Magnolia, LLC
19
                                                                                                                                                       25,000.00


     Erb Equipment Company
20 6115 US Highway 45 South
     Paducah, KY, 42001                                                                                                                                23,630.48




    Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 2
             Case 21-50418-acs                     Doc 1    Filed 10/27/21         Entered 10/27/21 16:02:27                     Page 9 of 59
  Fill in this information to identify the case:

               Calvert City Quarry, LLC
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Western District of Kentucky
  Case number (If known):       _________________________                                                                             Check if this is an
                                                                                                                                         amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                       12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
   ✔
            Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                                Current value of debtor’s
                                                                                                                                   interest

2. Cash on hand                                                                                                                   $______________________
                                                                                                                                    0.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                 Type of account               Last 4 digits of account number
          FNB Bank
    3.1. _________________________________________________  Checking
                                                           ______________________              ____ ____ ____ ____                $______________________
                                                                                                                                    799.00
          BB&T
    3.2. _________________________________________________  Checking
                                                           ______________________              ____ ____ ____ ____                  7,000.00
                                                                                                                                  $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                    $______________________
    4.2. _____________________________________________________________________________________________________                    $______________________

5. Total of Part 1                                                                                                                  7,799.00
                                                                                                                                  $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

   ✔
            No. Go to Part 3.
           Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                  $______________________
    7.2._________________________________________________________________________________________________________                  $_______________________


   Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                                 page 1
            Case 21-50418-acs                  Doc 1       Filed 10/27/21          Entered 10/27/21 16:02:27                      Page 10 of 59
Debtor           Calvert City Quarry, LLC
                _______________________________________________________                          Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                 $______________________
    8.2.___________________________________________________________________________________________________________                 $_______________________

9. Total of Part 2.
                                                                                                                                    $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :    Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes. Fill in the information below.
      ✔


                                                                                                                                    Current value of debtor’s
                                                                                                                                    interest
11. Accounts receivable

     11a. 90 days old or less:     63,369.00
                                  ____________________________    7,751.00
                                                               – ___________________________          = ........                  $______________________
                                                                                                                                     55,618.00
                                    face amount                  doubtful or uncollectible accounts

     11b. Over 90 days old:         0.00
                                   ___________________________    0.00
                                                               – ___________________________          = ........                  $______________________
                                                                                                                                     0.00
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                   $______________________
                                                                                                                                     55,618.00
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :    I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method           Current value of debtor’s
                                                                                                         used for current value     interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________      $________________________
    14.2. ________________________________________________________________________________               _____________________      $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________      $________________________
    15.2._______________________________________________________________            ________%            _____________________      $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________     $_______________________
    16.2.________________________________________________________________________________                ______________________     $_______________________



17. Total of Part 4
                                                                                                                                   $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                   page 2
            Case 21-50418-acs                 Doc 1        Filed 10/27/21             Entered 10/27/21 16:02:27                    Page 11 of 59
                   Calvert City Quarry, LLC
Debtor            _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      Yes. Fill in the information below.
      ✔




      General description                               Date of the last         Net book value of        Valuation method used        Current value of
                                                        physical inventory       debtor's interest        for current value            debtor’s interest
                                                                                 (Where available)
19. Raw materials
                                                                                   20,000.00                                            20,000.00
  2000 tons of Aggregate Rock
   ________________________________________                   ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

20. Work in progress
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

22. Other inventory or supplies
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                     20,000.00
                                                                                                                                      $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
     
     ✔      No
           Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

     ✔
            No
           Yes. Book value _______________          Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     
     ✔      No
           Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                        Net book value of        Valuation method used        Current value of debtor’s
                                                                                 debtor's interest        for current value            interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________      $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________      $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________                $________________         ____________________      $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________      $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________                $________________         ____________________     $______________________


Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                     page 3
            Case 21-50418-acs                 Doc 1        Filed 10/27/21             Entered 10/27/21 16:02:27                  Page 12 of 59
                 Calvert City Quarry, LLC
Debtor          _______________________________________________________                           Case number (if known)_____________________________________
                Name




33. Total of Part 6.
                                                                                                                                    $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :    Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                           Net book value of     Valuation method             Current value of debtor’s
                                                                                  debtor's interest     used for current value       interest
                                                                                  (Where available)
39. Office furniture

                                                                                   $________________     ____________________      $______________________
40. Office fixtures

                                                                                   $________________     ____________________      $______________________
41. Office equipment, including all computer equipment and
    communication systems equipment and software
Office Furniture Fixtures and Equipment                                              4,623.00                                        4,623.00
                                                                                   $________________     ____________________      $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________                $________________      ____________________      $______________________
    42.2___________________________________________________________                $________________      ____________________      $______________________
    42.3___________________________________________________________                $________________      ____________________      $______________________
43. Total of Part 7.
                                                                                                                                      4,623.00
                                                                                                                                    $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

      No
     
     ✔ Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Official Form 206A/B                                           Schedule A/B: Assets  Real and Personal Property                                  page 4
          Case 21-50418-acs                  Doc 1        Filed 10/27/21         Entered 10/27/21 16:02:27                Page 13 of 59
                  Calvert City Quarry, LLC
 Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                 Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                    Net book value of       Valuation method used        Current value of
                                                                           debtor's interest       for current value            debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          Vehicles                                                           18,000.00                                           18,000.00
    47.1___________________________________________________________         $________________       ____________________       $______________________

    47.2___________________________________________________________         $________________       ____________________       $______________________

    47.3___________________________________________________________         $________________       ____________________       $______________________

    47.4___________________________________________________________         $________________       ____________________       $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________          $________________       ____________________       $______________________

    48.2__________________________________________________________          $________________       ____________________       $______________________

49. Aircraft and accessories

    49.1__________________________________________________________          $________________       ____________________       $______________________

    49.2__________________________________________________________          $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)
    See continuation sheet
                                                                             3,368,500.00                                        3,368,500.00
    ______________________________________________________________          $________________       ____________________       $______________________


51. Total of Part 8.                                                                                                             3,386,500.00
                                                                                                                               $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
          No
     
     ✔     Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     
     ✔     No
          Yes




 Official Form 206A/B                                       Schedule A/B: Assets  Real and Personal Property                               page 5
            CaseCalvert
                  21-50418-acs
                        City Quarry, LLC
                                                Doc 1         Filed 10/27/21           Entered 10/27/21 16:02:27                  Page 14 of 59
 Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 9 :     Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       Debtor leases a rock quarry from Bailey Port,           Long Term Lease
55.1
       Inc.
                                                                                                                                         0.00
                                                                                     $_______________      ____________________        $_____________________

55.2

                                                                                     $_______________      ____________________        $_____________________

55.3

                                                                                     $_______________      ____________________        $_____________________


56. Total of Part 9.                                                                                                                     0.00
                                                                                                                                       $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
       
       ✔    No
           Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       ✔    No
           Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
       ✔


        Yes. Fill in the information below.
        General description                                                          Net book value of     Valuation method             Current value of
                                                                                     debtor's interest     used for current value       debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________     ______________________      $____________________

61. Internet domain names and websites
       ______________________________________________________________                $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________     _____________________       $____________________
65. Goodwill
       ______________________________________________________________                 $________________     _____________________       $____________________

66. Total of Part 10.
                                                                                                                                        $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                                  page 6
          Case 21-50418-acs                       Doc 1    Filed 10/27/21        Entered 10/27/21 16:02:27                        Page 15 of 59
Debtor            Calvert City Quarry, LLC
                 _______________________________________________________                         Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
         No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         No
         Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
          No. Go to Part 12.
     ✔
           Yes. Fill in the information below.
                                                                                                                                      Current value of
                                                                                                                                      debtor’s interest
71. Notes receivable
     Description (include name of obligor)

     ______________________________________________________
                                                                     _______________     –   __________________________         =   $_____________________
                                                                     Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)
      ERC Credit - IRS
     _________________________________________________________________________________                               2020
                                                                                                           Tax year ___________        Unknown
                                                                                                                                     $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                   $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                   $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                   $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                    $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                      $_____________________
   ____________________________________________________________                                                                      $_____________________
78. Total of Part 11.
                                                                                                                                       0.00
                                                                                                                                     $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                   page 7
          Case 21-50418-acs                          Doc 1           Filed 10/27/21                   Entered 10/27/21 16:02:27                         Page 16 of 59
                   Calvert City Quarry, LLC
Debtor            _______________________________________________________                                              Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         7,799.00
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         0.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         55,618.00
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         20,000.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         4,623.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         3,386,500.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                               0.00
                                                                                                                                             $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                         0.00
90. All other assets. Copy line 78, Part 11.                                                      +    $_______________

                                                                                                         3,474,540.00                          0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




                                                                  3,474,540.00                                                                                     3,474,540.00
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................     $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
            Case 21-50418-acs               Doc 1          Filed 10/27/21    Entered 10/27/21 16:02:27               Page 17 of 59
                Calvert City Quarry, LLC
 Debtor 1                                                              _                  Case number (if known)
               First Name     Middle Name      Last Name



                                                   Continuation Sheet for Official Form 206 A/B
50) Other machinery, fixtures, and equipment (excluding farm machinery and equipment)

Business Equipment                   2,738,500.00                                                       2,738,500.00

Bomag Roller                         30,000.00                                                          30,000.00

NPK GH10 Breaker                     50,000.00                                                          50,000.00

2016 Furukawa Drill                  150,000.00                                                         150,000.00

CAT 349                              400,000.00                                                         400,000.00




Official Form 206 A/B                                                Schedule A/B: Property
             Case 21-50418-acs                        Doc 1        Filed 10/27/21             Entered 10/27/21 16:02:27                         Page 18 of 59
  Fill in this information to identify the case:
              Calvert City Quarry, LLC
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Western  District of Kentucky

  Case number (If known):       _________________________                                                                                               Check if this is an
                                                                                                                                                            amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                 Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                  Amount of claim           Value of collateral
                                                                                                                                 Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien            of collateral.            claim
     CAT Financial                                               CAT 349
      __________________________________________                                                                                   458,315.00
                                                                                                                                 $__________________          400,000.00
                                                                                                                                                            $_________________

     Creditor’s mailing address

      ________________________________________________________

      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                  _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred           __________________          
                                                                 ✔   No
    Last 4 digits of account                                        Yes
    number                   _________________                   Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                
                                                                 ✔   No
    same property?                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    
    ✔
      No
                                                                 As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                 Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     FNB Bank
                                                                 Business Equipment                                              $__________________
                                                                                                                                  5,309,000.00              $_________________
                                                                                                                                                             2,738,500.00
      __________________________________________
     Creditor’s mailing address
      101 East Broadway
      ________________________________________________________
      Mayfield, KY 42066
      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                 Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                      lien against all equipment and business assets
                                                                  _________________________________________________
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                
                                                                 ✔   No
    same property?                                                  Yes
    
    ✔ No
                                                                 Is anyone else liable on this claim?
     Yes. Have you already specified the relative                  No
              priority?
                                                                 
                                                                 ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.          As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
             Yes. The relative priority of creditors is            Unliquidated
                  specified on lines _____                          Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                    5,944,677.00
                                                                                                                                  $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                          4
                                                                                                                                                              page 1 of ___
             Case  21-50418-acs
               Calvert City Quarry, LLC
                                                      Doc 1       Filed 10/27/21             Entered 10/27/21 16:02:27                       Page 19 of 59
  Debtor            _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                              Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  3 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     John Deere Credit
                                                                NPK GH10 Breaker
     __________________________________________                                                                                  39,002.00
                                                                                                                                $__________________      50,000.00
                                                                                                                                                        $_________________
     Creditor’s mailing address

     ________________________________________________________

     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________         Describe the lien
    Last 4 digits of account
                                                                 __________________________________________________
    number                   _________________
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔   No
    same property?                                                 Yes
    
    ✔ No

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔   No
              No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
              Yes. The relative priority of creditors is          Unliquidated
                   specified on lines _____                        Disputed


2.__
  4 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     John Deere Credit
                                                                Bomag Roller
     __________________________________________                                                                                  38,454.00
                                                                                                                                $__________________       30,000.00
                                                                                                                                                        $_________________
     Creditor’s mailing address


     ________________________________________________________

     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred           __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔   No
    
    ✔ No                                                           Yes

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔   No
              No. Specify each creditor, including this
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
              Yes. The relative priority of creditors is          Unliquidated
                   specified on lines _____                        Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___
                                                                                                                                                                 2 of ___
                                                                                                                                                                       4
             Case  21-50418-acs
               Calvert City Quarry, LLC
                                                      Doc 1       Filed 10/27/21             Entered 10/27/21 16:02:27                       Page 20 of 59
  Debtor            _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                              Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  5 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     John Deere Credit

     __________________________________________                                                                                  99,906.00
                                                                                                                                $__________________      0.00
                                                                                                                                                        $_________________
     Creditor’s mailing address

     ________________________________________________________

     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________         Describe the lien
    Last 4 digits of account
                                                                 __________________________________________________
    number                   _________________
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔   No
    same property?                                                 Yes
    
    ✔ No

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔   No
              No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
              Yes. The relative priority of creditors is          Unliquidated
                   specified on lines _____                        Disputed


2.__
  6 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Tristate Construction, LLC
                                                                Office Furniture Fixtures and Equipment
     __________________________________________                                                                                  Unknown
                                                                                                                                $__________________       4,623.00
                                                                                                                                                        $_________________
     Creditor’s mailing address


      3595 Park Avenue
     ________________________________________________________

      Paducah, KY 42001
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred           __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔   No
    
    ✔ No                                                           Yes

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                           No
              No. Specify each creditor, including this
                                                                
                                                                ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                
                                                                ✔   Contingent
              Yes. The relative priority of creditors is       
                                                                ✔   Unliquidated
                   specified on lines _____                        Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___
                                                                                                                                                                 3 of ___
                                                                                                                                                                       4
            Case 21-50418-acs               Doc 1        Filed 10/27/21             Entered 10/27/21 16:02:27                     Page 21 of 59
Debtor
               Calvert City Quarry, LLC
               _______________________________________________________                            Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity


                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                      4 of ___
                                                                                                                                                           4
             Case 21-50418-acs                Doc 1       Filed 10/27/21            Entered 10/27/21 16:02:27                  Page 22 of 59
   Fill in this information to identify the case:

    Debtor
                    Calvert City Quarry, LLC
                    __________________________________________________________________

                                            Western District of Kentucky
    United States Bankruptcy Court for the: ________________________________

    Case number      ___________________________________________
    (If known)

                                                                                                                                     Check if this is an
                                                                                                                                        amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                    12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
    
    ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           11,887.00
    City of Calvert                                                                                                                 $_________________
                                                            Check all that apply.
    c/o Keuler, Kelly, Hutchins, Blankenship & Sigler,         Contingent
    LLP                                                        Unliquidated
    100 S 4th St #400                                          Disputed
    Paducah, KY, 42001
                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    _________________________________

    Last 4 digits of account                                Is the claim subject to offset?
    number      _______________________                     ✔ No

                                                             Yes
    Specify Code subsection of PRIORITY unsecured
                                8
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 Internal Revenue Service                                As of the petition filing date, the claim is: $______________________
                                                                                                            164,727.00                164,727.00
                                                                                                                                    $_________________
                                                            Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Taxes & Other Government Units
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔ No

    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                                8
2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           102,000.00                102,000.00
    Internal Revenue Service                                                                                                        $_________________
                                                            Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔
                                                                 No
    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                               8


  Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               13
                                                                                                                                         page 1 of ___
             Case   21-50418-acs
                Calvert City Quarry, LLC    Doc 1       Filed 10/27/21           Entered 10/27/21 16:02:27                    Page 23 of 59
  Debtor          _______________________________________________________                       Case number (if known)_____________________________________
                  Name



 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.           Total claim              Priority amount


  4
2.____ Priority creditor’s name and mailing address                                                       25,523.33
                                                                                                         $______________________   $_________________
      Kentucky Department of Revenue                     As of the petition filing date, the claim is:
      PO Box 5222                                        Check all that apply.
      Frankfort, KY, 40620-0004                             Contingent
                                                            Unliquidated
                                                            Disputed


        Date or dates debt was incurred                  Basis for the claim:

        _________________________________
                                                         Taxes & Other Government Units
                                                         _________________________________
        Last 4 digits of account
        number      _______________________
                                                         Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                         
                                                         ✔   No
                                                            Yes

  5
2.____ Priority creditor’s name and mailing address                                                       29,619.00                  29,619.00
                                                                                                         $______________________   $_________________
      Kentucky Department of Revenue
                                                         As of the petition filing date, the claim is:
                                                         Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                         Taxes & Other Government Units
                                                         _________________________________

        Last 4 digits of account
                                                         Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
                                   8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  6
2.____ Priority creditor’s name and mailing address                                                        30,768.00                 30,678.00
                                                                                                         $______________________   $_________________
      Kentucky Division of Unemployment                  As of the petition filing date, the claim is:
                                                         Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        _________________________________                Taxes & Other Government Units
                                                         _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured    
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    8                       Yes

  7
2.____ Priority creditor’s name and mailing address                                                      96,452.00
                                                         As of the petition filing date, the claim is: $______________________     $_________________
      Kentucky Revenue Cabinet
                                                         Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed


                                                         Basis for the claim:
        Date or dates debt was incurred
                                                          Taxes & Other Government Units
                                                          _________________________________
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


      Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                   2 of ___
                                                                                                                                                 page __    13
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  Debtor          _______________________________________________________                      Case number (if known)_____________________________________
                  Name



 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.          Total claim              Priority amount


  8
2.____ Priority creditor’s name and mailing address                                                      29,500.00                 29,500.00
                                                                                                        $______________________   $_________________
      Marshall County                                   As of the petition filing date, the claim is:
      Benton, KY, 42025                                 Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed


       Date or dates debt was incurred                   Basis for the claim:

       _________________________________
                                                         Taxes & Other Government Units
                                                         _________________________________
       Last 4 digits of account
       number      _______________________
                                                        Is the claim subject to offset?
       Specify Code subsection of PRIORITY unsecured
                                   8
       claim: 11 U.S.C. § 507(a) (_____)
                                                        
                                                        ✔    No
                                                            Yes

  9
2.____ Priority creditor’s name and mailing address                                                      44,100.00
                                                                                                        $______________________   $_________________
      Marshall County, Kentucky
                                                        As of the petition filing date, the claim is:
      Marshall County Attorney
                                                        Check all that apply.
      80 Judicial Drive, Unit 130
      Benton, KY, 42025
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
       Date or dates debt was incurred
       _________________________________
                                                         Taxes & Other Government Units
                                                         _________________________________

       Last 4 digits of account
                                                        Is the claim subject to offset?
       number _______________________

       Specify Code subsection of PRIORITY unsecured
                                                        
                                                        ✔
                                                             No
                                  8
       claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


2.____ Priority creditor’s name and mailing address
                                                                                                        $______________________   $_________________
                                                        As of the petition filing date, the claim is:
                                                        Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
       Date or dates debt was incurred
       _________________________________                 _________________________________

       Last 4 digits of account
       number      _______________________               Is the claim subject to offset?

       Specify Code subsection of PRIORITY unsecured        No
       claim: 11 U.S.C. § 507(a) (_____)                    Yes


2.____ Priority creditor’s name and mailing address
                                                        As of the petition filing date, the claim is: $______________________     $_________________
                                                        Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed


                                                         Basis for the claim:
       Date or dates debt was incurred
                                                         _________________________________
       _________________________________

       Last 4 digits of account                          Is the claim subject to offset?
       number      _______________________

       Specify Code subsection of PRIORITY unsecured
                                                            No
       claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


      Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  3 of ___
                                                                                                                                                page __    13
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  Debtor          _______________________________________________________                          Case number (if known)_____________________________________
                  Name


 Pa rt 2 :     List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Applied Industrial Technologies                                                                                          4,386.05
                                                                                                                           $________________________________
                                                                              Contingent
    4037 Clarks River Rd                                                      Unliquidated
    Paducah, KY, 42003                                                        Disputed
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔   No
                                                                              Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Atlas Equipment Services                                               Check all that apply.                             18,896.23
                                                                                                                           $________________________________
    PO Box 554                                                                Contingent
    Mayfield, KY, 42066                                                       Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔   No
    Last 4 digits of account number            __________________             Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Auto Tire & Parts                                                                                                        2,600.71
                                                                                                                           $________________________________
                                                                              Contingent
    PO Box 560                                                                Unliquidated
    Cape Girardeau, MO, 63702                                                 Disputed
                                                                           Basis for the claim:


    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Bailey Port, Inc.                                                      Check all that apply.
                                                                                                                             6,016,947.00
                                                                                                                           $________________________________
    1290 Shar Cal Road                                                        Contingent
    Calvert City, KY, 42029                                                   Unliquidated
                                                                              Disputed
                                                                            Basis for the claim:


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                               No
                                                                              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    BB&T                                                                                                                     47,201.00
                                                                                                                           $________________________________
                                                                           Check all that apply.
                                                                              Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Boyd CAT | Whayne Supply Company                                                                                         347,031.00
                                                                                                                           $________________________________
                                                                           Check all that apply.
    Department 8326                                                           Contingent
    Carol Stream, IL, 60122-8326                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________         
                                                                           ✔
                                                                               No
                                                                              Yes


    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                     4 of ___
                                                                                                                                                    page __    13
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  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             Unknown
                                                                                                                     $________________________________
 Brenda Scott                                                           Contingent
 c/o Whitlow, Roberts, Houston & Straub                                 Unliquidated
 PO Box 995                                                          
                                                                     ✔   Disputed
 Paducah, KY, 42002-0995
                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       1,670.80
                                                                                                                     $________________________________
 Brooks Motor & Electric
 506 East Happy Valley St                                               Contingent
 Cave City, KY, 42127                                                   Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Certified Laboratories                                              Check all that apply.
                                                                                                                      567.01
                                                                                                                     $________________________________
 23261 Network Pl                                                       Contingent
 Chicago, IL, 60673-1232                                                Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      7,043.00
                                                                                                                     $________________________________
 Construction Machinery Company                                      Check all that apply.
 2911 S English Station Rd                                              Contingent
 Louisville, KY, 40299                                                  Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Deister Machine Company, Inc                                        Check all that apply.
                                                                                                                       5,352.68
                                                                                                                     $________________________________
 P.O. Box 1                                                             Contingent
 Fort Wayne, IN, 46801                                                  Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 5 of ___
                                                                                                                                              page __    13
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  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             23,630.48
                                                                                                                     $________________________________
 Erb Equipment Company                                                  Contingent
 6115 US Highway 45 South                                               Unliquidated
 Paducah, KY, 42001                                                     Disputed

                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       9,500.00
                                                                                                                     $________________________________
 Fluid Power Services
 193 Cedar Lane, Po Box 513                                             Contingent
 Madisonville, KY, 42431                                                Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Franklin Rock and Recycle                                           Check all that apply.
                                                                                                                      8,505.00
                                                                                                                     $________________________________
 P.O. Box 133                                                           Contingent
 Smithville, IN, 47458                                                  Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      185,542.00
                                                                                                                     $________________________________
 Furukawa Finance                                                    Check all that apply.
                                                                        Contingent
                                                                     
                                                                     ✔
                                                                         Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hagan & Stone Wholesale, Inc.                                       Check all that apply.
                                                                                                                       1,698.01
                                                                                                                     $________________________________
 1387 N Main St                                                         Contingent
 P.O. Box 158                                                           Unliquidated
 Tompkinsville, KY, 42167                                               Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 6 of ___
                                                                                                                                              page __    13
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  Debtor          _______________________________________________________                     Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             18,973.01
                                                                                                                      $________________________________
 Hannan Supply                                                           Contingent
 1565 N 8th St                                                           Unliquidated
 Paducah, KY, 42001                                                      Disputed

                                                                      Basis for the claim:



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                          No
                                                                         Yes
        Last 4 digits of account number        ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        3,975.90
                                                                                                                      $________________________________
 Henry A Petter Supply Co
 P.O. Box 2350 Charter Oak Dnve used â'h,'i:                             Contingent
 5110 Charter Oak Dr                                                     Unliquidated
 Paducah, KY, 42001                                                      Disputed

                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                          No
                                                                         Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Heritage Petroleum, LLC                                              Check all that apply.
                                                                                                                       7,787.84
                                                                                                                      $________________________________
 P.O. Box 6850                                                           Contingent
 Evansville, IN, 47719                                                   Unliquidated
                                                                         Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                          No
                                                                         Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       3,744.40
                                                                                                                      $________________________________
 HTA Enterprises, Inc.                                                Check all that apply.
 5923 Pendleton Rd,                                                      Contingent
 Louisville, KY, 40272                                                   Unliquidated
                                                                         Disputed

                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                          No
        Last 4 digits of account number        ___________________       Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Industrial Machine Services, Inc.                                    Check all that apply.
                                                                                                                        10,520.00
                                                                                                                      $________________________________
 2360 Anton Rd                                                           Contingent
 Madisonville, KY, 42431                                                 Unliquidated
                                                                         Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                          No
        Last 4 digits of account number        ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                  7 of ___
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  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             72,833.07
                                                                                                                     $________________________________
 J.W. Jones Company, LLC                                                Contingent
 c/o Robert L. Prince                                                   Unliquidated
 P.O. Box 466                                                           Disputed
 Benton, KY, 42025-0466
                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       Unknown
                                                                                                                     $________________________________
 Jake Boren
 c/o Whitlow, Roberts, Houston & Straub                                 Contingent
 PO Box 995                                                             Unliquidated
 Paducah, KY, 42002-0995                                             
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  24
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 James C Bailey                                                      Check all that apply.
                                                                                                                      1,361,535.00
                                                                                                                     $________________________________
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  25
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      19,467.79
                                                                                                                     $________________________________
 John Fabick Tractor                                                 Check all that apply.
 PO Box 952121                                                          Contingent
 Saint Louis, MO, 63195-2121                                            Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  26
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 K & L Clutch & Transmission                                         Check all that apply.
                                                                                                                       2,058.92
                                                                                                                     $________________________________
 3529 S Raider Dr                                                       Contingent
 Hurst, TX, 76053                                                       Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 8 of ___
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  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  27
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             5,951.07
                                                                                                                     $________________________________
 Kentucky Publishing. Inc                                               Contingent
 1540 McCracken Blvd                                                    Unliquidated
 Paducah, KY, 42001                                                     Disputed

                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  28
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       6,820.99
                                                                                                                     $________________________________
 Landers Explosives, Inc.
 16785 N State Road 66                                                  Contingent
 Cannelton, IN, 47520                                                   Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  29
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Landers Trucking & Excavating. Inc.                                 Check all that apply.
                                                                                                                      9,896.80
                                                                                                                     $________________________________
 16785 N State Road 66                                                  Contingent
 Cannelton, IN, 47520                                                   Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  30
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25,000.00
                                                                                                                     $________________________________
 Lease One Magnolia, LLC                                             Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  31
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Madisonville Tire & Retreading                                      Check all that apply.
                                                                                                                       6,252.44
                                                                                                                     $________________________________
 c/o Thomas E Springer III                                              Contingent
 18 Court St                                                            Unliquidated
 Madisonville, KY, 42431                                                Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 9 of ___
                                                                                                                                              page __    13
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  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  32
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             2,300.00
                                                                                                                     $________________________________
 Mine and Mill Supply Company LLC                                       Contingent
 370 Mine Equipment Rd                                                  Unliquidated
 Dawson Springs, KY, 42408                                              Disputed

                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  33
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       103,728.00
                                                                                                                     $________________________________
 PowerPlan
 PO Box 4450.                                                           Contingent
 Carol Stream, IL, 60197-4450                                           Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  34
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Powerscreen Crushing & Screening                                    Check all that apply.
                                                                                                                      7,500.00
                                                                                                                     $________________________________
 11901 Westport Rd                                                      Contingent
 Louisville, KY, 40245                                                  Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  35
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      8,602.61
                                                                                                                     $________________________________
 Powerscreen Parts & Service. LLC                                    Check all that apply.
 11901 Westport Rd                                                      Contingent
 Louisville, KY, 40245                                                  Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  36
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Reliable Electric, LLC                                              Check all that apply.
                                                                                                                       30,482.00
                                                                                                                     $________________________________
 1508 Iuka Rd                                                           Contingent
 Grand Rivers, KY, 42045                                                Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
                                                                                                                                                   10 of ___
                                                                                                                                                          13
             Case  21-50418-acs
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  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  37
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             31,550.00
                                                                                                                     $________________________________
 S&S Salvage LLC                                                        Contingent
 501 Us Highway 41A North                                               Unliquidated
 Providence, KY, 42450                                                  Disputed

                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  38
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       1,400.24
                                                                                                                     $________________________________
 Seay Oil Company Inc.
 PO Box 1147                                                            Contingent
 Hopkinsville, KY, 42241-114                                            Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  39
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Small Business Adminstration                                        Check all that apply.
                                                                                                                      404,431.00
                                                                                                                     $________________________________
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  40
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      21,225.80
                                                                                                                     $________________________________
 Sunbelt Rentals Inc.                                                Check all that apply.
 PO Box 409211                                                          Contingent
 Atlanta, GA, 30384-9211                                                Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  41
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 United Rentals                                                      Check all that apply.
                                                                                                                       15,038.93
                                                                                                                     $________________________________
 PO Box 100711                                                          Contingent
 Atlanta, GA, 30384-0711                                                Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
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                                                                                                                                                          13
             Case  21-50418-acs
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  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  42
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             10,358.01
                                                                                                                     $________________________________
 VCE Technical (VCE Inc. )                                              Contingent
 PO Box 25285                                                           Unliquidated
 Nashville, TN, 37202                                                   Disputed

                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  43
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       7,640.94
                                                                                                                     $________________________________
 Wil-Mar Hydraulics & Machine, Inc.
 PO Box 329                                                             Contingent
 Hanson, KY, 42413-0329                                                 Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  44
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Xylem Dewatering Solutions                                          Check all that apply.
                                                                                                                      17,343.83
                                                                                                                     $________________________________
 1800 Supply Rd                                                         Contingent
 Carterville, IL, 62918                                                 Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $________________________________
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                        No
        Last 4 digits of account number       ___________________       Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $________________________________
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                        No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
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            Case   21-50418-acs
               Calvert City Quarry, LLC    Doc 1      Filed 10/27/21          Entered 10/27/21 16:02:27                   Page 34 of 59
 Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                 Name



Pa rt 4 :      T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                                    Total of claim amounts



5a. Total claims from Part 1                                                                           5a.
                                                                                                                      534,576.33
                                                                                                                    $_____________________________




5b. Total claims from Part 2                                                                           5b.    +       8,896,989.56
                                                                                                                    $_____________________________




5c. Total of Parts 1 and 2                                                                                            9,431,565.89
                                                                                                       5c.          $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page __
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 Fill in this information to identify the case:

             Calvert City Quarry, LLC
 Debtor name __________________________________________________________________

                                         Western District of Kentucky
 United States Bankruptcy Court for the:______________________

 Case number (If known):    _________________________                        11
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease
                                       land lease                                        Bailey Port, Inc,
         State what the contract or                                                      P.O. Box 290
 2.1     lease is for and the nature
         of the debtor’s interest
                                                                                         Calvert City, KY, 42029

         State the term remaining
                                       36 months
         List the contract number of
         any government contract


         State what the contract or
 2.2     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.3     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.4
         lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        1
                                                                                                                                              page 1 of ___
          Case 21-50418-acs                  Doc 1        Filed 10/27/21            Entered 10/27/21 16:02:27                     Page 36 of 59
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Calvert City Quarry, LLC

                                         Western District of Kentucky
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       ✔ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1   Bailey Port                   Bailey Port                                                         FNB Bank                            ✔ D
                                                                                                                                             
                                     1290 Shar Cal Road                                                                                       E/F
                                     Calvert City, KY 42029                                                                                   G




 2.2                         James C. "Sonny" Bailey                                                                                         ✔ D
                                                                                                                                             
                             P.O. Box 1290                                                                                                    E/F
                             Calvert City, KY 42029
       James C. "Sonny" Bailey                                                                           Tristate Construction, LLC           G




 2.3
                                                                                                                                             ✔ D
                                                                                                                                             
                                                                                                                                              E/F
       Bailey Port, Inc.                                                                                  Tristate Construction, LLC          G



 2.4                         James. C. "Sonny" Bailey
                                                                                                                                             ✔ D
                                                                                                                                             
                             1290 Shar Cal Road                                                                                               E/F
                             Calvert City, KY 42029
       James. C. "Sonny" Bailey                                                                          FNB Bank                             G



 2.5
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.6
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
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Fill in this information to identify the case:
             Calvert City Quarry, LLC
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: Western District of KentuckyDistrict of _________
                                                                              (State)
Case number (If known):   _________________________                                              ___________________________________________



                                                                                                                                        Check if this is an
                                                                                                                                           amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                      04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                     Gross revenue
            may be a calendar year                                                            Check all that apply                   (before deductions and
                                                                                                                                     exclusions)

           From the beginning of the                                                           
                                                                                               ✔ Operating a business
                                                                                                                                                306,662.00
           fiscal year to filing date:           01/01/2021
                                           From ___________         to     Filing date          Other                               $_____________________
                                                  MM / DD / YYYY


           For prior year:                       01/01/2020
                                           From ___________         to     12/31/2020
                                                                           ___________         
                                                                                               ✔ Operating a business                           137,447.00
                                                                                                                                     $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other
           For the year before that:             01/01/2019
                                           From ___________         to     ___________         
                                                                                               ✔ Operating a business
                                                                                                                                                      0.00
                                                  MM / DD / YYYY            MM / DD / YYYY                                           $_____________________
                                                                                                Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

        None

                                                                                              Description of sources of revenue      Gross revenue from each
                                                                                                                                     source
                                                                                                                                     (before deductions and
                                                                                                                                     exclusions)

           From the beginning of the                                                                                                               0.00
                                                                                              ___________________________           $__________________
           fiscal year to filing date: From 01/01/2021
                                            ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From 01/01/2020
                                                ___________         to      12/31/2020
                                                                            ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________                          0.00
                                                                                                                                    $__________________



           For the year before that:       From 01/01/2019
                                                ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________                          0.00
                                                                                                                                    $__________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
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                 Calvert City Quarry, LLC
Debtor           _______________________________________________________                       Case number (if known)_____________________________________
                 Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
    adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None

             Creditor’s name and address                       Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.
              Lease One Magnolia
             __________________________________________       ________        $_________________
                                                                               7,157.00                          Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments

                                                              ________                                           Suppliers or vendors

                                                                                                                 Services
                                                              ________                                      
                                                                                                            ✔     Other _______________________________


     3.2.

              Jw Jones                                        ________        $_________________
                                                                               23,987.00                         Secured debt
             __________________________________________
             Creditor’s name                                                                                     Unsecured loan repayments

                                                              ________                                           Suppliers or vendors

                                                                                                                 Services
                                                              ________                                      
                                                                                                            ✔     Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

     
     ✔      None

             Insider’s name and address                        Dates          Total amount or value        Reasons for payment or transfer
     4.1.

             __________________________________________      _________       $__________________
             Insider’s name

                                                             _________

                                                             _________


             Relationship to debtor
             __________________________________________



     4.2.    __________________________________________
             Insider’s name
                                                             _________       $__________________

                                                             _________

                                                             _________




             Relationship to debtor

             __________________________________________



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                 Calvert City Quarry, LLC
Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
           None
            Creditor’s name and address                         Description of the property                                Date               Value of property
     5.1.
            Boyd CAT | Whayne Supply Company                   Cat 349 Excavator                                           09/2021
            __________________________________________                                                                     ______________       450,000.00
                                                                                                                                              $___________
            Creditor’s name
            Department 8326
            Carol Stream, IL 60122-8326




     5.2.
            CAT  Financial
            __________________________________________         CAT 349
                                                                                                                           09/2021
                                                                                                                           _______________        400,000.00
                                                                                                                                                $___________
            Creditor’s name




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                  Date action was       Amount
                                                                                                                           taken

             __________________________________________                                                                   _______________     $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

           None
             Case title                               Nature of case                           Court or agency’s name and address              Status of case
            City of Calvert v. Calvert City Quarry,                                           Marshall Circuit Court
     7.1.   LLC                                                                                                                                
                                                                                                                                               ✔   Pending

                                                                                                                                                  On appeal

             Case number                                                                      80 Judicial Drive                                   Concluded
                                                                                              Benton, KY 42025
      18-CI-00426
             _________________________________

             Case title                                                                        Court or agency’s name and address
            Madisonville Tire & Retreading v.                                                 Marshall Circuit Court                           
                                                                                                                                               ✔   Pending
     7.2.
            Calvert City Quarry, LLC                                                                                                              On appeal

             Case number
                                                                                                                                                  Concluded
                                                                                              80 Judicial Drive
                                                                                              Benton, KY 42025
      21-CI-00167
             _________________________________


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                 Calvert City Quarry, LLC
Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


     9.1.
            __________________________________________                                                                       _________________   $__________
            Recipient’s name


                                                                                                                             _________________   $__________




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name



                                                                                                                             _________________    $__________




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________   $__________



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                Calvert City Quarry, LLC
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

      None
     ✔
            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            __________________________________________
   11.1.
                                                                                                                         ______________      $_________
            Address




            Email or website address
            _________________________________

            Who made the payment, if not debtor?


            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.    __________________________________________
                                                                                                                         ______________      $_________
            Address




            Email or website address


            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________                                                                    ______________      $_________

            Trustee

            __________________________________________




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                Calvert City Quarry, LLC
Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


          None

            Who received transfer?                             Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value


                                                               4 pieces of equipment                                      01/18/2021            115,100.00
   13.1.     Ritchie Brothers
            __________________________________________                                                                    ________________     $_________

            Address
            5667 Gibraltar Drive
            Atlanta, 94588-8528




            Relationship to debtor

            none
            __________________________________________




            Who received transfer?                                                                                        ________________     $_________

   13.2.    __________________________________________

            Address




            Relationship to debtor

            __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
     ✔
            Address                                                                                             Dates of occupancy


   14.1.                                                                                                       From       ____________       To   ____________




   14.2.                                                                                                       From       ____________       To   ____________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6
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                 Calvert City Quarry, LLC
Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                 Name




 Part 8:         Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔     No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                        Nature of the business operation, including type of services the               If debtor provides meals
                                                             debtor provides                                                                and housing, number of
                                                                                                                                            patients in debtor’s care

   15.1.    ________________________________________                                                                                        ____________________
            Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                        How are records kept?


                                                                                                                                            Check all that apply:

                                                                                                                                               Electronically
                                                                                                                                               Paper

                                                             Nature of the business operation, including type of services the               If debtor provides meals
            Facility name and address                        debtor provides                                                                and housing, number of
                                                                                                                                            patients in debtor’s care

   15.2.                                                                                                                                    ____________________
            ________________________________________
            Facility name


                                                             Location where patient records are maintained (if different from facility      How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                            Check all that apply:
                                                                                                                                             Electronically
                                                                                                                                            Paper

 Part 9:         Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     
     ✔     No.
          Yes. State the nature of the information collected and retained. ___________________________________________________________________
                 Does the debtor have a privacy policy about that information?
                 
                    No
                    Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔     No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                    No. Go to Part 10.
                    Yes. Fill in below:
                        Name of plan                                                                           Employer identification number of the plan

                        _______________________________________________________________________                EIN: ___________________________________

                     Has the plan been terminated?
                           No
                           Yes



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Debtor            Calvert City Quarry, LLC
                  _______________________________________________________                         Case number (if known)_____________________________________
                  Name




 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     ✔     None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔     None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________                                                                                                     No
            Name                                                                                                                                        Yes



                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔      None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
             ______________________________________
            Name
                                                                                                                                                       Yes



                                                            Address




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              Calvert City Quarry, LLC
Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔   None

          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                                                                  $_________
          ______________________________________
          Name




 Part 12:       Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔   No
        Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                       Pending
                                                     _____________________________________
          Case number                                Name                                                                                         On appeal

          _________________________________                                                                                                       Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔   No
        Yes. Provide details below.

         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




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                Calvert City Quarry, LLC
Debtor          _______________________________________________________                      Case number (if known)_____________________________________
                Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔     No
          Yes. Provide details below.

           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


            __________________________________      ______________________________________                                                     __________
            Name                                    Name




 Part 13:          Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔     None


            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.    __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
            __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
            __________________________________
            Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




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                   Calvert City Quarry, LLC
Debtor            _______________________________________________________                        Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                Dates of service


              Wayne Shelton, CPA                                                                              From _______
   26a.1.     __________________________________________________________________________________
              Name
                                                                                                              To _______




              Name and address                                                                                Dates of service

                                                                                                              From _______
   26a.2.     __________________________________________________________________________________
              Name
                                                                                                             To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
            
            ✔     None

                    Name and address                                                                          Dates of service

                                                                                                              From _______
         26b.1.     ______________________________________________________________________________
                    Name
                                                                                                              To _______




                                                                                                              Dates of service
                    Name and address

                                                                                                              From _______
         26b.2.
                    ______________________________________________________________________________
                    Name                                                                                      To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
            
            ✔     None
                    Name and address                                                                          If any books of account and records are
                                                                                                              unavailable, explain why


         26c.1.     ______________________________________________________________________________
                    Name




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                    Calvert City Quarry, LLC
Debtor              _______________________________________________________                     Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

                   None

                     Name and address


           26d.1.    FNB Bank
                     ______________________________________________________________________________
                     Name




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✔      No
           Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




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                Calvert City Quarry, LLC
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name




            Name of the person who supervised the taking of the inventory                     Date of          The dollar amount and basis (cost, market, or
                                                                                              inventory        other basis) of each inventory

            ______________________________________________________________________            _______         $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                      Address                                                 Position and nature of any interest      % of interest, if any
 James C. Bailey                             ,                                                       Managing Member                         100.00




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    ✔ No

          Yes. Identify below.
   Name                                                                                                 Position and nature of any   Period during which position
                                                 Address                                                interest                     or interest was held


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
     
     ✔     No
          Yes. Identify below.
                                                                                     Amount of money or description      Dates               Reason for providing
            Name and address of recipient                                            and value of property                                   the value

   30.1.    ______________________________________________________________            _________________________          _____________
            Name


                                                                                                                         _____________


                                                                                                                         _____________

            Relationship to debtor                                                                                       _____________

            ______________________________________________________________                                               _____________
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                   Calvert City Quarry, LLC
Debtor             _______________________________________________________                          Case number (if known)_____________________________________
                   Name




              Name and address of recipient
                                                                                            __________________________     _____________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________

                                                                                                                           _____________



                                                                                                                           _____________


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔       No
            Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔       No
            Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                             EIN: ____________________________



 Part 14:            Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       10/27/2021
                               _________________
                                MM / DD / YYYY



              /s/ James C Bailey
              ___________________________________________________________                              James C Bailey
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 Managing Member
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             No
         
         ✔    Yes




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 14
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                  Calvert City Quarry, LLC
    Debtor Name                                                                          Case number (if known)



                                                  Continuation Sheet for Official Form 207
3) Certain payments or transfers to creditors within 90 days before filing this case

Boyd CAT,                                     $25,010.00

Warex,                                        $10,297.00

,                                             $20,000.00


5) Repossessions, foreclosures, and returns

John Deere                                            $150,000.00                350 Excavator                    09/2021
Credit


7) Legal Actions

J.W. Jones Company, LLC v. Calvert City Quarry, LLC

21-CI-00012

Marshall Circuit Court

80 Judicial Drive, Benton, KY 42025

Pending

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     Official Form 207                           Statement of Financial Affairs for Non-Individuals
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 Fill in this information to identify the case and this filing:

              Calvert City Quarry, LLC
 Debtor Name __________________________________________________________________

                                         Western District of Kentucky
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔    Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    10/27/2021
        Executed on ______________                          /s/ James C Bailey
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  James C Bailey
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Managing Member
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                               United States Bankruptcy Court
                               Western District of Kentucky




          Calvert City Quarry, LLC
 In re:                                                          Case No.

                                                                 Chapter    11
                       Debtor(s)




                               Verification of Creditor Matrix



        The above-named Debtor(s) hereby verify that the attached list of creditors is
 true and correct to the best of their knowledge.




                10/27/2021                        /s/ James C Bailey
 Date:
                                                  Signature of Individual signing on behalf of debtor

                                                  Managing Member
                                                  Position or relationship to debtor
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 Applied Industrial Technologies                            City of Calvert
 4037 Clarks River Rd                                       c/o Keuler, Kelly, Hutchins, Blankenship
 Paducah, KY 42003                                          100 S 4th St #400
                                                            Paducah, KY 42001

 Atlas Equipment Services
 PO Box 554                                                 Construction Machinery Company
 Mayfield, KY 42066                                         2911 S English Station Rd
                                                            Louisville, KY 40299

 Auto Tire & Parts
 PO Box 560                                                 Deister Machine Company, Inc
 Cape Girardeau, MO 63702                                   P.O. Box 1
                                                            Fort Wayne, IN 46801

 Bailey Port
 1290 Shar Cal Road                                         Erb Equipment Company
 Calvert City, KY 42029                                     6115 US Highway 45 South
                                                            Paducah, KY 42001

 Bailey Port, Inc,
 P.O. Box 290                                               Fluid Power Services
 Calvert City, KY 42029                                     193 Cedar Lane, Po Box 513
                                                            Madisonville, KY 42431

 Bailey Port, Inc.
 1290 Shar Cal Road                                         FNB Bank
 Calvert City, KY 42029                                     101 East Broadway
                                                            Mayfield, KY 42066

 Bailey Port, Inc.
                                                            Franklin Rock and Recycle
                                                            P.O. Box 133
 BB&T                                                       Smithville, IN 47458


 Boyd CAT | Whayne Supply Company                           Furukawa Finance
 Department 8326
 Carol Stream, IL 60122-8326
                                                            Hagan & Stone Wholesale, Inc.
                                                            1387 N Main St
 Brenda Scott                                               P.O. Box 158
 c/o Whitlow, Roberts, Houston & Straub                     Tompkinsville, KY 42167
 PO Box 995
 Paducah, KY 42002-0995
                                                            Hannan Supply
                                                            1565 N 8th St
 Brooks Motor & Electric                                    Paducah, KY 42001
 506 East Happy Valley St
 Cave City, KY 42127
                                                            Henry A Petter Supply Co
                                                            P.O. Box 2350 Charter Oak Dnve used â'h
 CAT Financial                                              5110 Charter Oak Dr
                                                            Paducah, KY 42001

 Certified Laboratories
 23261 Network Pl                                           Heritage Petroleum, LLC
 Chicago, IL 60673-1232                                     P.O. Box 6850
                                                            Evansville, IN 47719
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 HTA Enterprises, Inc.                                      Kentucky Publishing. Inc
 5923 Pendleton Rd,                                         1540 McCracken Blvd
 Louisville, KY 40272                                       Paducah, KY 42001


 Industrial Machine Services, Inc.                          Kentucky Revenue Cabinet
 2360 Anton Rd
 Madisonville, KY 42431
                                                            Landers Explosives, Inc.
                                                            16785 N State Road 66
 Internal Revenue Service                                   Cannelton, IN 47520


 J.W. Jones Company, LLC                                    Landers Trucking & Excavating. Inc.
 c/o Robert L. Prince                                       16785 N State Road 66
 P.O. Box 466                                               Cannelton, IN 47520
 Benton, KY 42025-0466

                                                            Lease One Magnolia, LLC
 Jake Boren
 c/o Whitlow, Roberts, Houston & Straub
 PO Box 995                                                 Madisonville Tire & Retreading
 Paducah, KY 42002-0995                                     c/o Thomas E Springer III
                                                            18 Court St
                                                            Madisonville, KY 42431
 James C Bailey

                                                            Marshall County
 James C. "Sonny" Bailey                                    Benton, KY 42025
 P.O. Box 1290
 Calvert City, KY 42029
                                                            Marshall County, Kentucky
                                                            Marshall County Attorney
 James. C. "Sonny" Bailey                                   80 Judicial Drive, Unit 130
 1290 Shar Cal Road                                         Benton, KY 42025
 Calvert City, KY 42029

                                                            Mine and Mill Supply Company LLC
 John Deere Credit                                          370 Mine Equipment Rd
                                                            Dawson Springs, KY 42408

 John Fabick Tractor
 PO Box 952121                                              PowerPlan
 Saint Louis, MO 63195-2121                                 PO Box 4450.
                                                            Carol Stream, IL 60197-4450

 K & L Clutch & Transmission
 3529 S Raider Dr                                           Powerscreen Crushing & Screening
 Hurst, TX 76053                                            11901 Westport Rd
                                                            Louisville, KY 40245

 Kentucky Department of Revenue
 PO Box 5222                                                Powerscreen Parts & Service. LLC
 Frankfort, KY 40620-0004                                   11901 Westport Rd
                                                            Louisville, KY 40245

 Kentucky Department of Revenue
                                                            Reliable Electric, LLC
                                                            1508 Iuka Rd
 Kentucky Division of Unemployment                          Grand Rivers, KY 42045
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 S&S Salvage LLC
 501 Us Highway 41A North
 Providence, KY 42450


 Seay Oil Company Inc.
 PO Box 1147
 Hopkinsville, KY 42241-114


 Small Business Adminstration


 Sunbelt Rentals Inc.
 PO Box 409211
 Atlanta, GA 30384-9211


 Tristate Construction, LLC
 3595 Park Avenue
 Paducah, KY 42001


 United Rentals
 PO Box 100711
 Atlanta, GA 30384-0711


 VCE Technical (VCE Inc. )
 PO Box 25285
 Nashville, TN 37202


 Wil-Mar Hydraulics & Machine, Inc.
 PO Box 329
 Hanson, KY 42413-0329


 Xylem Dewatering Solutions
 1800 Supply Rd
 Carterville, IL 62918
      Case(Form
     B2030  21-50418-acs
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                                      United States Bankruptcy Court
                                                             Western District of Kentucky
                                               __________________________________
     In re   Calvert City Quarry, LLC

                                                                                                             Case No. _______________

    Debtor                                                                                                            11
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

✔   FLAT FEE
                                                                                                                         19,472.75
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                 19,472.75
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                   0.00
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

     RETAINER
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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 B2030 (Form 2030) (12/15)
     d. [Other provisions as needed]




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
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                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for
            payment to me for representation of the debtor(s) in this bankruptcy proceeding.

         10/27/2021                       /s/ Todd Farmer, 86214
       _____________________             _________________________________________
       Date                                    Signature of Attorney
                                          Farmer & Wright
                                         _________________________________________
                                              ​Name of law firm
                                          4975 Alben Barkley Drive
                                          Suite 1
                                          Paducah, KY 42001
                                          2704434431
                                          todd@farmerwright.com
